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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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2Acv4687 (DLC)
IN RE TELADOC HEALTH, INC. SECURITIES
LITIGAT EON : CASK MANAGEMENT
: ORDER
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DENISE COTE, District Judge:

On August 5, 2022, five applicants submitted a motion to be
appointed as the lead plaintiff in this securities class action.
Since then, each applicant except Leadersel Innotech ESG has
withdrawn their motion. Accordingly, it is hereby

ORDERED as follows:

I. LEAD PLAINTIFF AND LEAD PLAINITFE’ 5S COUNSEL

1. Leadersel Innotech ESG is appointed Lead Plaintiff.

2. Labaton Sucharow LLP shall serve as Lead Counsel for the
plaintiff in this action and the class.

IIT. CAPTION

Every pleading filed in this action, and in any separate
action subsequently included therein, shall bear the following
caption:

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE TELADOC HEALTH, INC. 220v4687 (DLC)
SECURITIES LITIGATION

TIT. NEWLY FILED OR TRANSFERRED ACTIONS

1. When a class action that relates to the same subject
matter as this action is hereafter filed in or

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transferred to this Court and assigned to the
undersigned, it shail be consolidated with this action
(provided that any case transferred to this Court solely
for pretrial proceedings shall be consolidated only to
that extent absent further order of this Court), and the
Clerk of Court shall:

a. File a copy of this Order in the separate file for
such action.

b. Mail a copy of the Order of assignment of counsel
for plaintiffs and counsel for each defendant in the
consolidated actions.

c. Make an appropriate entry in the Docket.

d. Mail to the attorneys for the plaintiff(s) in the
newly filed or transferred case a copy of this
Order.

e. Upon the first appearance of any new defendant(s),
mail to the attorneys for such defendant(s) in such
newly filed or transferred case a copy of this
Order.

2. The Clerk shall maintain a separate file for each of the
consolidated actions and filings shall be made therein in
accordance with the regular procedures of the Clerk of
this Court except as modified by this Order.

3. The Court requests the assistance of counsel in calling
to the attention of the Clerk the filing or transfer of
any case which might properly be consolidated with this
Action.

APPLICATION OF THIS ORDER TO SUBSEQUENT CASES

. This Order shall apply to each class action assigned to the

undersigned alleging claims similar to those set forth in
this action against Acorda and others.

. This Order shall apply to each such case which is

subsequently filed in or transferred to this Court, and
which is assigned to the undersigned unless a party
objecting to the consolidation of that case or to any other
provision of this Order serves an application for relief
from this Order or from any of its provisions within ten
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(10) days after the date on which the Clerk mails a copy of
this Order to counsel for that party.

. The provisions of this Order shall apply to such action
pending the Court’s ruling on the application.

. Unless a plaintiff in a subsequently filed or transferred
case is permitted by the Court to use a separate complaint,
defendants shall not be required to answer, plead or
otherwise move with respect to that complaint in any such
case.

. f£ a plaintiff in any such case is permitted to use a
separate complaint, each defendant shall have thirty (30)
days from the date the Court grants such permission within
which to answer, plead or otherwise move with respect to
any such complaint.

SCHEDULE

1. Lead Plaintiff shall file an amended complaint for this
action and any actions subsequently consolidated with it
on or before September 30, 2022. Defendants shall file
an answer to the amended complaint or a motion to dismiss
the amended complaint by October 21, 2022.

2. Pending filing and service of the amended complaint,
defendants shall have no obligation to move, answer, or
otherwise respond to any complaints in any actions
subsequently consolidated with this action.

3. If a motion to dismiss the amended complaint is filed,
Lead Plaintiff may further amend its complaint by
November 11, 2022. It is unlikely that Lead Plaintiff
will have a further opportunity to amend. If Lead
Plaintiff elects not to further amend the complaint, it
shall file its opposition to the motion to dismiss on or
before November 11, 2022. Defendants shall file their
reply to the opposition to the motion to dismiss on or
before November 25, 2022.
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5. Defendants shall supply the Court with two courtesy
copies of the motion papers at the time the reply is
served.

Dated: New York, New York
August 23, 2022

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DENISE COTE
United States District Judge
